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            Exhibit 355
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Document title: BOMBSHELL: Antrim County Computer Forensic Report – Deep Capture
Capture URL: https://www.deepcapture.com/2020/12/antrim-county-computer-forensic-report/
Capture timestamp (UTC): Mon, 15 Feb 2021 18:27:17 GMT
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Document title: BOMBSHELL: Antrim County Computer Forensic Report – Deep Capture
Capture URL: https://www.deepcapture.com/2020/12/antrim-county-computer-forensic-report/
Capture timestamp (UTC): Mon, 15 Feb 2021 18:27:17 GMT                                         Page 1 of 21
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Document title: BOMBSHELL: Antrim County Computer Forensic Report – Deep Capture
Capture URL: https://www.deepcapture.com/2020/12/antrim-county-computer-forensic-report/
Capture timestamp (UTC): Mon, 15 Feb 2021 18:27:17 GMT                                         Page 2 of 21
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Document title: BOMBSHELL: Antrim County Computer Forensic Report – Deep Capture
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